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IN THE UNITED STATES BANKRUPTCY COURT

DISTRICT OF SOUTH CAROLINA
IN RE:

Kevin Scott Murdock Case Number: 25-00037-hb

)
)
)
)
)
) Chapter: 11
Debtor )
)
)
)

STATEMENT OF CHANGE
The Debtor, through his attorney hereby gives notice as to the substance of the changes

included in the attached documents.
Schedule F: Added Creditors
SOFA: Added Lawsuit

The undersigned certifies that the US Trustee’s Office has been served by ECF, and all
parties listed velow, by US Mail with sufficient postage attached. Added parties have also been
served with the First Meeting of Creditors notice and Debtors Statement About Social Security

Number as required by the Local Rules.

Cory S. Fein, Esq.

on behalf of Robert Mathewson
13105 Northwest Freeway, Ste 705
Houston TX 77040

United States of America
c/o Betn C. Warren, Esq.
144] Main Street, 5th Floor
Coiumbia SC 29201

Dated:February 15, 2025 4S/ Robert H. Cooper DCID #5670
Robert H. Cooper DCID #5670
Attorney for Debtor
The Cooper Law Firm
1610 Gowdeysville Road
Gafiney SC 29340
(864) 271-9914
thecooperlawfirma@thecooperlawtirm.com

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MTOM lalilsait-livels hte) tel Taldi Ava cell] mer: om

Debtor 1 Kevin Scott Murdock

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruswv Court ferthe: DISTRICT OF SOUTH CAROLINA

Case number 25-00037

(if known)

ME Check if this is an
amended filing

Official Form 1 33E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Ge List AQ of Your 2804 TY Unsecured Claims

1. Do any creditors have pricrity uisecured claims against you?
no. Go to Part 2.
a Yes.

2. List all of your prio.) .2secured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim fisted,
identify what type of c'air it's. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
possible, list the ciaims :- alohazetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount
Greenville County Tax Assessor Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
301 University Ridge, Ste 700 When was the debt incurred?
Greenville, SC 29601
Number Sireet City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
D1 Debtor 1 oniy 0 Unliquidated
C1 debtor 2 only O pisputed
C1 Debtor 1 and Dedior 2 only Type of PRIORITY unsecured claim:
At least one of the debtors and another C1 Domestic support obligations
C1 Check if this claim is for a community debt taxes and certain other debts you owe the government
Is the claim subject to offset? 0 Ciaims for death or personal injury while you were intoxicated
a No CJ other. Specify
CO yes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 51

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Debtor1 Kevin Scott Murdock Document Page 3 ES Amber (it known) 25-00037
Internal Revenue Service Last 4 digits of account number $225,600.00 $225,600.00 $0.00
Priority Creditor's Name
Centralized Insolvency Operation When was the debt incurred?
PO Box 7346
Philadelphia, PA 19101-7346
Number Sireei City Siate Zip Code As of the date you file, the claim is: Check alt that apply
Who incurred the debt? Check one. oO Contingent
11 Debtor t cy O unliquidated
CI Debtor 2 only Oo Disputed
E Debtor * and Debt > ony Type of PRIORITY unsecured claim:
MM At least one of the debtors and another [J Domestic support obligations
CO Check if this clairn is for a community debt Mi taxes and certain other debts you owe the government
Is the claim subject te offset? (I Ciaims for death or personal injury while you were intoxicated
Bn CZ other. Specify
O ves
SC Dest o% Revenue Last 4 digits of account number $0.00 $0.00 $0.00

Priority Crsc:tors Name
PO bcx 12205
Columia, $C 29211

Number Exrest City State Zip Code

Who incurred ha debt? Check one.

O debtor * :-.,

D Debtor 2 ony

0 Debtor « -n- 2.002 crly

Ba least oe of iné deotors and another
D1 Cheek if 2ni

Is the clair: su.jec: io Wiser?

Hino
0 Yes

‘mis for @ community debt

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

[1 Contingent

C] Unliquidated

T] Disputed

Type of PRIORITY unsecured claim:

Ci Domestic support obligations

Mt Taxes and certain other debts you owe the government

1] claims for death or personal injury while you were intoxicated

C) other. Specify

Noiice Purposes Only

3.

Official Form 106 E/F

List A. of Your NCNPRIORITY Unsecured Claims

Do any creditors aave ronpriority unsecured claims against you?

[1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

a Yes.

List all of your nonpriority unsecured claims in the alphabetical order of the creditor who hold
unsecured claim jist the creditor separately for each claim. For each claim listed,
than one creditcr roids a particular claim, list the other creditors in Part 3.If you h

Part 2.

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

is each claim. If a creditor has more than one nonpriority
identify what type of claim it is. Do not list claims already included in Part 1. If more
ave more than three nonpriority unsecured claims fill out the Continuation Page of

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Debtor! Kevin Scott Murdock Document — Page 4S Ember (irmnow) 25-0037
Acumen IT Last 4 digits of account number Unknown
Nonpriority Creditor's Name
3620 Petham Road When was the debt incurred?
Greenville, SC 29615
Number Street Citv State Zip Code As of the date you file, the claim is: Check all that apply
Who incurrea tne debt? Cneck one.
DC) Detter 1 only Hi contingent
D1 Dettor z oniy C untiquidated
CJ Debtor 1 anc Debter 2 only Disputed
ME At cast seo the vebsers ang another Type of NONPRIORITY unsecured claim:
CI Checx if tnis claim is tora community D1 student ioans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CO debts to pension or profit-sharing plans, and other similar debts
Business Debt with possible Personal
Ci Yes i other. Specify Guarantee
4.2 Adame and Neese wi? Last 4 digits of account number Unknown
Nonpriority Crecitor's Name
Dept 5268 When was the debt incurred?
Birmir. i
Number S: Z As of the date you file, the clair is: Check all that apply
Whe incurved the debt? Check one.
C1] pare + “7 a Contingent
Ld Debio. 2 Oy Oo Unliquidated
[2 Debtor « anc Dastor 2 anh z Disputed
wt. S62 3 ws acbic’s and another Type of NONPRIORITY ursecurad claim:
Li Chee i cais claim is fora community C1 student loans
dekr Oy Obligations arising out of a separation agreement or divorce that you did not
Is the cls» « report as priority claims
a Xo [1 Debis to pension or profit-sharing plans, and other similar debts
_ Business Debt with possible Personal
LO Yes i Other. Specify Guarantee
ADIT... Last 4 digits of account number Unknown

Nonoriorty Creditor's Name
737 N Stn St

Ricnr ond, VA 93245

Number Street City State Zip Code

Who incurred the debt? Check one.

CD dent: only

Ul Deter 2 omy

[J] Debtor 7 and Debtor 2 only

At least ove of the debtors anc another

Cl Cheek if this claim is for a community
debt

Is the claim subject to offset?

Mino

CI ves

When was the debt incurred?

As of the date you file, the claira is: Check all that apply

a Contingent

C1 unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
C1 Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CZ Debts to pension or profit-sharing plans, and other similar debts

Business Debt with possible Personal

MH other. Specify Guarantee

Official Form 106 ==

Schedule E/F: Creditors Who Have Unsecured Claims

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[a]

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Debtor1 Kevin Scott Murdock

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Me BS. En

EI Dees:

‘anc Deoter 2 only

Mw ‘
wet Ge) lie co the debicrs ana another
Li Ghec. if tais claim is fora community
Cebs

ADL Health Last 4 digits of account number Unknown
Nonpriority Creditor's Name
14220 Northbrook Drive Ste 600 When was the debt incurred?
San Antonio, TX 78232
Number Strest City State Zin Code As of the date you file, the claim is: Check all that apply
Who incurred tne cept? Cneck one.
ett: oly a Contingent
C4 Cebic; 2 ony Unliquidated
[1 Debtor 1 and Debtor 2 only WF pisputed
At gant. 2 ott. sek-ers and another Type of NONPRIORITY unsecured ciaim:
Ci Checx it tnis claim is fora community C1 Student loans
debi (1) Obligations arising out of a separation agreement or divorce that you did not
Is the sizirm s ct to offset? report as priority claims
a No C] Debts to pension or profit-sharing plans, and other similar debts
- Business Debt with possible Personal
LO Yes WM other. Specify Guarantee
45 AGiLE 22 Ves aiclogies Last 4 digits of account number Unknown
Monoprioriy Crecior's Name
4187 Collections Center Dr When was the debt incurred?
As of the date you five, the clair: is: Check all that apply
a Contingent
Lu Deotoi 2 Ony Cl Unliquidated
Ct Debtc- i anc Dentor 2 only Mf disputed
biases cag aubio’s ane another Type of NONPRIOR. TY iinsecured claim:
Lo Ghee. ais claim is fora community C1 Student loans
ceb. J Obligaticns arising out of a separation agreement or divorce that you did not
Is the BSCS report as priority claims
tm NO [1 Debts to pension or profit-sharing plans, and other similar debts
Eusiress Oebt with possible Personal
LU Yes iid Other. Specify Guarantee
Last 4 digits of account number Unknown

When was the debt incurred?

As of the date you fie, ihe clais: is: Check all that apply

z Contingent

Ci unliquidated

BW disputed

Type of NONPRIORITY unsecirad claim:
CO student loans

Gi Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C] Debts to pension or profit-sharing plans, and other similar debts

Business Debt with possible Personal
a Other. Specify Guarantee

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor1 Kevin Scott Murdock

Document Page GALS mber renown) -25-00037

47 Alexander Paterra

Last 4 digits of account number $21,000.00
Nonpriority Creditor's Name
104 S. Calhoun St. When was the debt incurred?
Greenville, SC 29601
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred tne debt? Cneck one.
[1 Debier + on'y Contingent
Ci vetior Z ony oO Unliquidated
[ Debtor 1 anc Debtor 2 only Oo Disputed
BB) 20.12 of hs seb-crs ana another Type of NONPRIOR'TY urseciired claim:
Ci Cheex if tnis ctaim is tor a community 1 Student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
is the cleim subtest ts offset? report as priority claims
= No CO Debts to pension or profit-sharing plans, and other similar debts
Tl ves M other. Specty Lega! Senses
Ame Lasorazory Solutions Last 4 cigits of account number Unknown
NOnwiveny Steccurs Name
LC Sucxsie, Lane When was the debt incurred?
Danie land, SC 29492
Numb t Zo As of the date you tiie, tne claim is: Gneck ail that apply
Whe ins. e ne Sok one
PA arcs ow ¥ Coringent
Ci bene 2 aay C1 Untiquidated
[3 Den:s:- ang Deoin 2 a7 x Disputed
Me Seg. C8 we wectcces and another Type of NONPRIOR!TY ursecurec’ c:aim:
Lo Checa ius cram is Yor a Community C1 Student loans
eek i! Obligations arising out of a separation agreement or divorce that you did not
ISQhe 0 Geol tu of set? report as prioritv claims
‘a i'r I Debts to pension or profit-sharing plans, and other similar debts
. . Business Neht with possible Personal
LU Yes i Other. Specify Guarantee
ius See Last 4 cigits of account number Unknown

Official Form 106 E/F

Selcors Name

bee 1

bide: aver 2

me Eo. Bla uo. aig another
Le Chee aha Slain. 8 vora community
ceb

Is the Liu. oF et?

r

te lo

Lu Yes

When was the debt incurred?

As of the date you fe, the claim: is: Check all that apply

x Contingert

[3 Uniiquidated

Disputed

Type of NONPRIOR.VY unsecured clair:
CJ Student loans

at Obtiga:.cas arising out of a separation agreement or divorce that you did not
report as priority claims

CI Debts to pension or profit-sharing plans, and other similar debts

Pusiness Debt with possible Personal
i Other. Specify Guarantee

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Kevin Scott Murdock Document Page 7 HE ember (if known) 25-00037
41
0 Amex Last 4 digits of account number 1643 $2,812.00
Nonpriority Creditor's Name
Correspondence/Bankru ptcy Opened 12/16 Last Active
Po Box 981535 When was the debt incurred? 3/27/23
El Paso, YX 799¢6
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CI pebtcr + only 1 contingent
3 Deviv. 2 ony oO Unliquidated
D1 nebo: 4 and Dertor 2 ony oO Disputed
BB a: 225i one of the asbicrs and another Type of NONPRIORITY unsecured claim:
i Check if this claim is fora community [1 Student loans
dekt = Obligations arising out of a separation agreement or divorce that you did not
is the vain Suiect to offset? report as priority claims
Xo CD Debts to pension or profit-sharing plans, and other similar debts
Tl ves @ other. speciy Credit Card
44 AD DH.a+t : 'e of .
1 AP Brofees tna" Sectrity LLC Last 4 digits of account number Unknown
Monprior:y Crecitar's Name
oe Ste 26 When was the debt incurred?
Creswi's, SS 22607
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred tae cebt? Cneck one.
Bw Contingent
CD unliquidated
I: Debios 4 anc Panter 2 cniy H Disputed
m 2640 18 the alters ene another Type of NONPRIOR: TY unsecured claim:
Le Chee. it ahs siaim is ora community C1 student loans
CEb: ni Obliga:.icns arising out of a separation agreement or divorce that you did not
Is the :! i.eclto offset? report as priority claims
hm i a Debis to pension or profit-sharing plans, and other similar debts
Business Debt with possible Personal
LU Yes ii Other. Specify Guarantee
44
2 Last 4 digits of account number Unknown
When was the debt incuscea?
vy Sits Z.9 Code As of the date you fife, the claim is: Check all that apply
Wino inc.ec vie usar? Cneck one.
r ws Ceriinge1
un Lk C uniiquidated
Boa Deny = Disputed
3 ¢ another Vupe of NONPRIORITY ursecured claim:
ct = community Ci Student loans
Opliga:.c.s arising out of a separation agreement or divorce that you did not
EP report as priority claims
e ™ Debis to pension or profii-snaring tans, and other similar debts
Susiress Debt with possible Personal
Lu ve 4 Other. Specify Guarantee
Official Forri: 125 =.= Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 51
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Debtor1 Kevin Scott Murdock Document Page Oleg number (if known) 25-00037
41 .
3 AR Funding Last 4 digits of account number $1,450,000.00
Nonpriority Creditor's Name
126 Millport Circle #100 When was the debt incurred?
Greenville, SC 29607
Numbs- Sireat Ciry care 2p Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
Co debto- : ony a Contingent
C1 debior z only CT Unliquidated
Cl Debtor 1 an Debtor 2 only B® Disputed
BB ee sce: £2 oF the Sebicrs and another Type of NONPRIORITY unsecured claim:
Cl Check if tnis claim is for a community Cl student toans
dekt ao Obligations arising out of a Separation agreement or divorce that you did not
Is the c!z'm subject to offset? report as priority claims
BE Ac [J Debts to pension or profit-sharing plans, and other similar debts
. Pusiness Debt with possible Personal
LI Yes it Other. Specify Guarantee
41
4 Arksione Last 4 digits of account number Unknown
Nornp.ionty C-ecitor's Name
135 Roswevey furnotke Ste 114 When was the debt incur-ed?
Laweance, NY 11559
Numbe: Steei Ciy State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred <ne debt? Check one.
Pe omy a Contingent
ba DeLs 2 on, CI Unliquidated
[ Decto 1 ane Senior 2 omy Ll Disputed
OF as cast oi OF is VEOC'S anc another Type of NONPRIORITY unsecured claim:
lain is ror @ community D1 student loans
o Obliga-.c.s arising out of a separation agreement or divorce that you did not
Sito of set? report as priority claims
oe P] Debts to pension or profit-snaring pians, and other similar debts
: .. Pusiness Debt with possible Personal
Lu ves iad Other. Specify Guarantee
41 : 2
5 Last 4 digits of account number 3276 $513.00
Stages When was the debt ir cares “ecrned G4/24.
rexoma Parkway, Suite 300
St VA TaeGO
wy State Zip Code 4s of the date you file, the claica is: Check ail that apply
we GEO? Cneck one.
. kei Contingent
Loos - co Unliquidated
Wa Derr gst ee tony & Disputed
aH AS Sect S2. h aub-c.s ano another ype of NONPRORA TY ussecured cain:
be eee 1 is Sor a Community Ci Student loans
use i Obiigacns arising out of a separation agreement or divorce that you did not
ls et + £2 report as priority clainis
‘_ E) Debis to pension or profit-snaring plans, and other similar debts
Collectic Attorcey St. Francis Hospital Inc
Luss lid Other. Specify Mob
Official Forrr Schedule E/- Crec'ters Wao Fzve Unsecured Claims

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Debtor 1

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Kevin Scott Murdock

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Associated Receivables Funding

Last 4 digits of account number Unknown
Nonpriority Creditor's Name
clo Townes Johnson, Esq. When was the debt incurred?
PO Box 9246
Greenville, SC 29604,
Number Sireet City Staie Zip Code As of the date you file, the claim is: Check ail that apply
Who inc trved the debt? Check one.
Di Dette - ony a Contingent
O Dekicr 2 oniy O Unliquidated
Oi Debi; 1 anc Dedtor 2 only a Disputed
MY es cast one of the aebicrs and another Type of NONPRIORITY unsecured claim:
C5 Chee it sais clara is dora community D1 Student toans
dekt Cj Obligations arising out of a separation agreement or divorce that you did not
Is the cc's tbject to offset? report as priority claims
im Nin Tr Debts to pension or profit-sharing plans, and other similar debts
/ Pusinesse Debt with possible Personal
LU Yes iM other. Specify Guarantee
41 .
7 Assurance Lab Consulting Last 4 digits of account number Unknown
“Norp. ooy S-scrore Name
2868 Action Rc Ste 207 When was the debt incurred?
Birsaungham, AL 35243
City State Zio Code As of the date you file, the claim is: Check all that apply
Who incurred ine debt? Check one.
Pen: ty a Coriingert
a Oe 2k vay CT unliquidated
L. Davis: + ana Dactor 2 ena E5 Disputed
OF ne sas oa ot ihe Gebin-s ane another Type of NONPRIORITY unsecured clair:
ch ches [1 student toans
ces _ Obliga.ons arising out of a separation agreement or divorce that you did not
fo ths report as priority claims
Le te Lt Debits to pension or profit-snaring sians. and other similar debts
/ Eusiness Debt with possible Personal
Lives lid Other. Specify Guarantee
41
8 Last 4 digits of account number Unknown
When was the debt i-cuvrad?
As of the date you file, the claim is: Check all that apply
Wane incuccc.. ve aebt? Check one.
Oa 5 wi Certingan®
eco C4 Unitiquidated
-ie SEL 2 ey L! Disputed
ook 35 © ace another Type oF NONPRIOR-TY urseciired claim:
L: “2 community Ci stuaent loans
Ls Obigecons arising out of a Separation agreement or divorce that you did not
Soto report as priority claims
_ F* Debis to pension or profit-snaring pians, and other similar debts
Pusiness Debt with possible Personal
Lee ‘44 Other. Specify Guarantee
Official Forrr Schedule E/ -- Crecfic-s Woo Peve Unsceured Claims

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Debtor 1 Kevin Scott Murdock Document Page 10 QL 32 mer (iow) 25-0037
44
9 BAEBIES INC Last 4 digits of account number Unknown
Nonpriority Creditor's Name
PO Box 14403 When was the debt incurred?
Durham, NC 27709
Numbe: Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Motes 4 ory m Contingent
Ci Detior 2 ony 1 unliquidated
Cl Debtor 1 and Debtor 2 only WF pisputea
MM oe: cest sos of its debrers end another Type of NONPRIORITY unsecured claira:
(C5 Checx if tnis claim is tora community C1 Student loans
debt 1 Obligations arising out of a separation agreement or divorce that you did not
Is the c:2!m sublect to offset? report as priority claims
a No Cl] Debts to pension or profit-sharing plans, and other similar debts
. . Business Debt with possible Personal
go Yes i Other. Specify Guarantee
4.2 ~
0 Becaman Coulter Last 4 digits of account number Unknown
Norp-iority Ccecitor's Name
Dept CH10164 When was the debt incurred?
Palaine, IL 60055
Number Street Chy Siate Zip Code As of the date you file, the claim is: Check all that apply
Who incurrea tne debt? Check one.
Tl he co & contingent
SLB Oy CI Unliquidated
Lo Devic: 1 anc Manto 2 oniy (4 Disputed
MF 225i une ot che devses ang another “ype of NONPRIORITY unsecured claim:
LO Chess tnis claimis vora community O Student loans
dske -] Obligaons arising out of a separation agreement or divorce that you did not
£.2jes ito offset? report as priority claims
oye IT Debts to pension or profit-snaring plans, and other similar debts
Eusinrece Debt with possible Personal
LU ves i Other. Specify Guarantee
Last 4 digits of account number Unknown

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Wino ine: rr

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baches 2 Wi Tein is vor a Community
erk

iti LE 3et?

When was the debt inc :7247

As of the date you file, the claim is: Check all that apply

a Cortingent

O Unliquidated

x Disputec

Type of NONPRIOR. TY unsecined claim
C1 student ioans

wt Goligécuas arising out of a separation agreement or divorce that you did not
report as priority claims

I Debis to pension oF profit-snaring clans, and other similar debts

Pusiness Debt with possible Personal
Md Other Specify Guarants

Schedule E/F: Creditors Who Heve Unsecured Claims

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Debtor? Ke... Document Page 11.083 @mber (if known) 25-00037
42 . te hte oe ee es .
> Bic.c. 2 Environmeniai Service Last 4 digits of account number Unknown
Nonoriony Creditcr's Name
655H “2irview Road Box 333 When was the debt incurred?
Simpsonville, SC 29680
Numbe: Street City Siaie Zin Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
CT devs: 7 orly a Contingent
Ci Bebior z only C unliquidated
[1 Debtor 1 and Debtor 2 only a Disputed
MH At east one of the debtors and another Type of NONPRIORITY unsecurec claim:
Ci Cheex if this claim is for a community C1 Student loans
debt i Obligacons arising out of a separation agreement or divorce that you did not
Is the cizim subject to offset? report as pricrity claims
a NO II Debts to pension or profit-sharing plans, and other similar debts
_ Pusiness Debt with possible Personal
Lo yes a Other. Specify Guarantee
4.2 a +
3 Biosave Suppiies LLC Lest 4 digits of account number Unknown
“Wworp forty Credite:'s Name ~~
$436 Southridge Park Court When was the debt incurred?
Orla: :do, FL 32819
Numbe; Street City Siate Zio Code As of the date you file, the claim is: Check all that apply
Who iricurred the debt? Check one.
betes: tay a Certingent
a eu L Gey CI untiquidated
Lo Debtor 1 ard Mertor 2 ony gE Disputed
Type of NONPRIOR!TY ursecurec claim
O Student loans
Lo 4 Obliga” cis arising out of a separation agreement or divorce that you did not
report as priority claims
F Debts to pension or profit-snaring gians, and other similar debts
Pusiness Osht with possible Personal
il Other. Specify Guarantce
4.2
4 Last 4 digits of acccuntnumber 1486 Unknown
When was the debt :-cucr3d7
As of the date you file, the claim is: Check all that apply
a4 B continge tt
we eee Bey (3 Untiquiaated
aa PO Latter Fat Disputec
oF eto Bs ‘he weoc's ane another Vupe of NONPRIOR- TY arsecurec clair:
seclew Student loans
La Oodligacons a € Out Of a separation agreement or divorce that you did not
ott (pet iy LF set? report as priority claims
_ ba 1 Debts to pension or profit-snaring cians, and other similar debts
Susivess Nebt with possible Personal
Luvs fi Other. Specify Guararitce
Official Forrr. «2 = Schedule E/F: Creditors Wino Have Unsecured Claims Page 10 of 51
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Debtor1 fs. .. Document Page 12,af3 Ember (if known) 25-00037
4.2 .
5 Last 4 digits of acccunt number 2796 Unknown
When was the debt incurred?
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Fort Mill, SC 29708
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
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Debtor? boos sot urdes! Document Page 13 Q€3?2 ber (known) —--25-00037
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Greenville, SC 29609
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24Ad Stn Ave Ste 1218 When was the debt incu?
New York, NY 10001
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Monpriority Creditors Name
PO Sox 4349
Cary: Stream, iL 60197

Number Street City State Zip Code
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Schedule E/F: Creditors Who Have Unsecured Claims

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Nonpriority Creditor's Name
PO Box 392165
Pittsourgh, PA 15254

Number Street City State Zip Code

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Official Form .C¢ 25 Schedule E/F: Creditors Who Have Unsecured Claims Page 15 of 51
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SC 29203

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Schedule E/F: Creditors Who Have Unsecured Claims

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Official Form 106 £/F Schedule E/F: Creditors Who Have Unsecured Claims Page 17 of 51
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Nonpriority Creditor's Name
PO Box 790408
Saint .ou's, MO 63179
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Schedule E/F: Creditors Who Have Unsecured Claims Page 18 of 51
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Nonpriority Creditor's Name
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Mountain Lakes, NJ 07046
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Debtor 1 Kevin Scott Murdock

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: DISTRICT OF SOUTH CAROLINA

Case number 25-00037

(if known)

Ml Check if this is an
amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

GEXSHEE Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

O Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

M No

C) Yes. List ail of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

@ No
CO Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

EERE &12in the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and ali businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

Cl No
HM Yes. Fill in the details.

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ail that apply. (before deductions and Check ail that apply. (before deductions
exclusions) and exclusions)
For last calendar year: C1 wages, commissions, $100,000.00 Wages, commissions,
(January 1 to December 31, 2024 ) bonuses, tips bonuses, tips
Hl Operating a business [1] Operating a business

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor? Kevin Scott Murdock Document Page 22 of Sse number (ifknown) 25-00037
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ail that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)

For the calendar year before that:

C1 Wages, commissions, $100,000.00 1 wages, commissions,
(January 1 to December 31, 2023 )

bonuses, tips bonuses, tips

@ Operating a business C1 Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other incorne are alimony; child support; Social Security, unemployment
and other public benefit payments; pensions; rental income: interest; dividends; money collected from lawsuits; royalties: and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

HM No
Yes. Fill in the details.

Debtor 1 Debtor 2

Sources of income Gross income from Sources of income Gross income

Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

EENEHIM List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

MH No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 17 U.S.C. § 101(8) as “incurred by an

individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
O No. Go to line 7.

M Yes List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you

paid that creditor. Do not include payments for domestic support obligations, such as child Support and alimony. Also, do
not inciude payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

[ Yes. Debtor 4 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

O No. Go tc tine 7.

DO ves List below eacn creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you — Was this payment for ...
paid still owe
Specialized Loan Servicing LLC $2,600.00 per $7,800.00 $289,200.00 i Mortgage
Attn: Bankruptcy month for 90 days O car
P.O. Box 630147 prior to petition. .
: C1 Credit Card
Littleton, CO 80163 gO
Loan Repayment
C1 Suppliers or vendors
C] Other__
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
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Debtor 1 ase number (if known)

25-00037

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

M No
CO Yes. List all payments to an insider.
Insider's Name and Address

Within 1 year before you filed for bankruptcy,

insider?

Dates of payment

Include payments on debts guaranteed or cosigned by an insider.

M No
O Yes. List all payments to an insider

Insider's Name and Address

Dates of payment

ENA identity Legal Actions, Repossessions, and Foreclosures

9.

Official Form 107

Total amount
paid

Amount you
still owe

Total amount
paid

Amount you
still owe

Reason for this payment

Reason for this payment
Include creditor's name

did you make any payments or transfer any property on account of a debt that benefited an

Within 1 year before you filed for bankruptcy,
List all such matters, including personal injury ca

modifications, and coniract d:sputes.

were you a party in any lawsuit, court action, or administrative proceeding?
ses, small claims actions, divorces, collection suits, paternity actions, support or custody

O No
M Yes, Fill in the details.
Case title Nature of the case Court or agency Status of the case
Case number
Legacy Capital 2 6 Lic vs KEVIN CIVIL JUDGMENT SUPREME COURT - CIVIL O Pending
MURDOCK, DIVERSIFIED DIVISION C On appeal!
MEDICAL HEALTH CARE, et O Concluded
4122926
- 1,198,188.00
State Of Indiana vs KEVIN STATE TAX MARION CIRCUIT COURT - 0 Pending
MURDOCK WARRANT INDIANAPOLIS E On appeai
30684384 [ Concluded
- 1,098.00
State Of Mississippi vs KEVIN STATE TAX LIEN MISSISSIPPI DEPT OF C Pending
MURDOCK REVENUE [) On appeal
1546750 C] Concluded
- 133.00
State Of North Carolina vs KEVIN STATE TAX LIEN WAKE SUPERIOR COURT - C Pending
MURDOCK RALEIGH CO On appeal
2022M001664 O Concluded
- 30,219.00
State Of Nortn Caroiina vs KEVIN STATE TAX LIEN WAKE SUPERIOR COURT - C Pending
MURDOCK, KEVIN MURDOCK RALEIGn Ci On appeal
2022M001665 C Concluded
- 6,291.00

Statement of Financial Affairs for Individuais Filing for Bankruptcy

page 3
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Debtor! Kevin Scott Murdock Document Page 24 of 22.6 number irknown, 28-00037

Case title Nature of the case Court or agency Status of the case

Case number

Regency Finance, LLC vs Kevin Foreclosure Greenville County Court of CD Pending

Murdock, et 2! Common Pleas Ci On appeal

2024-CP-23-06507 305 E North Str O Concluded
Greenville, SC 29601

First Carolina Holdings LLC vs Breach of Greenville County Court of CO Pending

Kevin Mu:dozk Contract Commo Pleas CX On appeal

2023-CP-23-C0944 305 E North St QD Concluded
Greenviils, SC 29601

Regency Finance LLC vs Foreclosure Greenvilie County Court of C Pending

Diversified Propery Vertures LLC Commor Pleas C1 On appeal

et al 305 E North Street © Concluded

2023-C 25-0 27 Greenvilis, SC 29601

First Reliance Bank vs Kevin Foreclosure Greenville County Court of [ Pending

Murdock Comme. Pleas Ci On appeal

2023-CP-23-01842 305 = Norsk. Street O Concluded
Greenville, SC 29601

Southern First Bank vs. Kevin Foreclosure Greenville County Court of [J Pending

Scott Murdock Common Pleas CO On appeal

2024-CP-23-00168 305 = North Street Concluded
Greenvi..e, SC 29601

Hermes Health Sciences, LLC vs Breach of Greenville County Court of CO Pending

Premier Medical, Inc. et a! Contract Common Pleas (C On appeat

2023-CP-23-00960 305 E North Street Ci Concluded
Greenviiis, SC 29601

Regency Finance, LLC vs Kevin Fraud/Bad Faith Greenvilie County Court of [ Pending

Scott Murdock Common Pleas C1 On appeal

2023-CP-23-93221 305 & North Street C Concluded
Greenvils, SO 29601

Woodruff Corporate Association Foreclosure Greenville County Court of C1 Pending

Inc vs Kevin Scett Murdock Common Pleas ( On appeal!

2023-CP-23-03307 305 E North Street CO Concluded
Greeaviiis, SO 2$601

First Carolina Holdings LLC vs Foreclosure Greenviile County Court of C] Pending

Kevin Murdock Common Pleas C On appeal

2024-CP-23-062923 365 = North Street CO Concluded
Greenviiis, SC 29601

Regency Finance LLC vs Foreclosure Greenvitte County Court of C] Pending

Diversified P-operty Vertures, LLC Comme Pleas Ci On appeal

et al 365 = Nercn Street CE Conctuded

2023-CP-2 2-027 s Greeavi.s, S25 29801

First Carolina Holdings LLC vs Breach of Greenviiie County Court of ( Pending

Kevin Murdock Contract Comince 4 Pisas Ci On appeal

2023-C2P-23-CGSe4 205 = Norir. Street [ Conciuded
Sreeqvi.s, $5 29601

Official Form 107 Statement of Financial Affairs for indivica: is 71. ~ g..0 Bay ruptey page 4
Debtor 1

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Kevin Scott Murdock Document Page 25 of Sse number (ifknown) 25-00037

Case title Nature of the case Court or agency Status of the case

Case number

14 South Main LLC vs Premier Debt Collection Greenville County Court of CO Pending

Medicai, inc ¢: a. Common Pleas [ On appeal

2023-CP-23-02322 305 E North Street O Coneluded
Greenville, SC 29601

Leaf Capiiai Funding LLC vs Breach of Greenville County Court of O Pending

Premier Wedice! Inc, ate! Contract Common leas [ On appeal

2023CP-22 52409 300 E Norn: Utreet = Concluded
Greenvitis, SS 25601

Pramoen National Bank vs Breach of Greenvilie County Court of C Pending

Preemie: 3: od-cai inc., 3: al Contract Corina 1 Pls aS CE On appeal

2023-CP et 308 ES Steet = Concluded

©8301

Associated Receivables Funding Breach of Greenviiie County Court of CO Pending

Inc. vs Kevin, io Contract Commo Pisas Ci On appeal

2024 O20. 1022 205 2 Nevin St. f Concluded
Grsetivine, S 2 28601

Associated Receivables Funding Breach of Greenvivte County Court of CO] Pending

Inc. vs Ke: fin PUPS Contract Coame4 Pleas < On appeal

2024-CE 35-00 205 5 Neri Ltreet i Concluded
Groedai.s, 22 25601

14 South iain LLC vs Kevin Breach of Greenvitte County Court of C] Pending

Murdock Contract Common Pleas C On appeal

2024-CP-23-05968 262 = Nercr Street > Concluded
Greenviis, £5 29601

Timothy Hodge vs Diversified Employment Greenviile County Court of CI Pending

Management Company LLC etal Common Pleas Co On appeal

2024-CP-23-05940 S65 5 Nori, $ St: reet Concluded
Greeavins, So 29601

American Express vs Kevin Debt Collection Greenviiie County Court of O Pending

Murdock Common Pleas Ci On appeal

2024-CV-23-11060703 365 = Norch: Street C Concluded
Greenvilis, § 25601

Greenville Northpointe Associates Rule to Vacate Greenville County Court of C Pending

LLC vs Kevin Scott Murdock Comme Pleas [ On appeal

2022-CV-23-11003932 S05 = Nerth Street [= Concluded
Greenvine, £5 28601

United States of America, State of False Claims Act United States District Court CO Pending

Georgia, State of Coleraco, and Cist-ct 9° South Carolina CI On appeal

State of South ¢ Carole “& VS. Premier Carroll A. Cz.nobell, Jr. U. Cl Concluded

Medica! ir.c., Kevin 3. Murdock et S. Counhouy

al 200 Lagi Neocn Sweet

6:18-cv-007165 TiC (D.S.C.)

Greenvine, 5 seu 25061

Official Form 107

Statement of Financial Affairs for Individua:s Fiuing roe Bankruptcy

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‘fknown) _25-00037

10. Within 1 year before you filed for bankruptcy,

was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

QO] No. Go io vne “1,

M Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened
First Reliance Bank, LLC Office Building located 218 Adley Way, 2024 $375,000.00
clo Townes 3. sohnson iil Greenville SC.
PO Bex $248 Tax Map # 0541002700

Greenvi'ic, €C 2904
CI) Property was repossessed.
a Property was foreclosed.
CZ Property was garnished.

O Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, inciuding a bank or
accounts or refuse to make a payment because you owed a debt?

HM No

Ol sYes. Fi: in whe aetaiis,

financial institution, set off any amounts from your.

Creditor Nam> anc Acdress Describe the action the creditor took Date action was Amount
taken
12. Within < year secsre you vad tor bankruptcy, was any of your
court-appointes receiver, a custodian, or another official?
HE No

Ol Yes
EEA Lis: Cera Gis ana Contributions

13. Within 2 ysars Weiore you ilied for bankruptcy, cid you give any gifts with a total value of more than $600 per person?
M No

C) Yes. = in the cetails for each gift.

Property in the possession of an assignee for the benefit of creditors, a

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Value
per person

the gifts
Person tc wViiori Vou Gzve ine Gift and
Address:
14. Within 2 years before you filed for bankruptcy,
M No

Cl Yes. Fill in the details for each gift or contribution.

did you give any gifts or contributions with a total value of more than $600 to any charity?

Gifts or contributions to charities that total Describe what you contributed
more than $600

Charity's Name
Address (umber, Street, City, Scate and ZIP Code)

GENE List Certain Losses

15. Within 4 year vafore you filed Zor bankruptcy or since you filed for bankruptcy,
or gambling?

Dates you Value
contributed

cid you lose anything because of theft, fire, other disaster,

BM No

C1 Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the ious cccu.red Include the amount that insurance has paid. List pending SS lost

insurance claims on line 33 of Schedule A/B: Property.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor’ Kevin Scott Murdock Document — Page 27 of 32... aumber itoown) 25-00037

GEReA List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else actin
consulted <s0.% sealing be Yaruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
O No
EH Yes. Fill in ine details.

Person Vio vias Feic
Address transferred or transfer was

g on your behalf pay or transfer any property to anyone you

Description anc value of any properiy Date payment Amount of

payment

Email cr weosice adcreass made

Person Who Made the Payment, if Not You

The Cooser Law Firm $15,000.00 attorneys fees plus November $16,738.00

1610 Sowcsysvi_e Road $1,738.00 court costs. 2024

Gaffney SC 22244

Summit Tnorcia’ Credit Counseling January 5, $34.95
2025

summitre ore

17. Within 4 yez

promisa:' : = yt. deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

Ol Yes. fi: in tue details.

Defore you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

Persor. Vie kas. Zils Description anc value of any propery Date payment Amount of
Addréve transferred or transfer was payment
made

18. Within 2 years oevore you ied for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property

transferre<: ©-ciaary course of your business or financial affairs?

Include both s ansfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include give Ak Lbs the: you fiave already listed on this staterient.

Be No

Cl Yes. =. ia the dexaiis.

Person \ti.5 Xocélyeu Tvecotay Description and value of Describe any property or Date transfer was
Address property transferrec payments received or debts made

paid in exchange
Person's .e.accnsiip co you

19. Within 10 vears before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you area

beneficiary? (These are often called asset-protection devices.)

Cl No
M Yes. Fil in the aetails.
Name of trust Description and value of the property transferred Date Transfer was
made
Kevin Scovt Murdock IPS irrevocable IPS stock 2008
Trust
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7
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Debtor 1 Kevin Scott Murdock Document Page 28 of 22 e0 number (itknown) ~25-00037

mus-He List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, cv transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit: shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M@ No
Yes. Fill in the detaiis.

Name of Fisaanciai iesStution and Last 4 digits of Type of account or Date account was Last balance

Address (aumzer, i, ei, Sia, Siate and ZIP account number instrument closed, sold, before closing or

Code) moved, or transfer
transferred

21. Do you now have, or die vou nave within 1 year before you filed for bankrupicy, any safe deposit box or other depository for securities,
cash, or other valuables?

x No
O Yes. Fi! ir the details.
Name of Financial Institution Who else had access to it? Describe the contents Do you still

Address weunee., Seay, Cin, Scata and ZIP Cade) Address (Number, Street, City, have it?
State and ZIP Code)

22. Have you siorec ercsery i+ a storage unit or place other than your home within 1 year before you filed for bankruptcy?

Mm No

DO Yes. Finin ene deraus.

Name of Sicvags nay Who else has or had access Describe the contents Do you still
Address (Numer, Sireet, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code)

GEER identity Sronerty You Hold or Control for Someone Else

23. Doyoutco.: 7 nfs ‘ry property that someone else owns? Include any property \'cu korrowed from, are storing for, or hold in trust
for sorrec>s
M No
[2 Yes. 5 athe Sotails
Owner's * Where is the property? Describe the property Value
Address so Sob, Luly, Sdte and ZIP Code) ao Sireet, Cay, Stace end Zi>
ode

GEESE Give Details Adout Environmental Information

For the purzces; fect. one *e Howing definitions apply:

BM Envirce.; 0 silo. / federal, state, or local statute or rsguadon concerniig pollution, contamination, releases of hazardous or
toxic Sussiznces, wasiss, 3’ material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
reguiations soccroing tas «:eanup of these substances, wastes, or materiai.

Site means any iocation, facility, or Property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, o72:ats, or ucillve ft, Including disposal sites.

Hazardous ‘naterial means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazarccus snatecial, once, contaminant, or similar terra.

Report al! nciives, releaess, ard proceedings that you know about, regardless cf when they occurred.
24. Has any governmental unit notified you that you may be liabie or potentially liable under or in violation of an environmental law?

a No
1 Yes. Fill in the details.

Name of site Governmeniai unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code} Address (Number, Street, City, State and know it
ZIP Code)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
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Debtor 1 Kevin Scott Murdock Document Page 29 of 22. number (rkrown 25-0037

25. Have you notified any governmental unit of any release of hazardous material?

HM No

O Yes. =: in: the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
Mm No
Ci Yes. rin in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Nuimoer, Street, City,
State and ZIP Code)

GERSKEE Give Detaiis About Your Business or Connections to Any Business

27. Within 4 vsers before you died for bankruptcy, did you own a business or have any of the following connections to any business?
CIA soe Proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
Ma member of a limited liability company (LLC) or limited liability partnership (LLP)
DA snes ing Patnership
Oi Av. vinGGr, GECCOr, ol Managing executive of a corporation
Ot AN Seener ot at east 5% of the voting or equity securities of a corporation
O Wo. Neve os che ubeve apples. Go to Part 12.

Bi ves. viiéun 2. ti. Gol.y above and fill in the details below for each business.

Bus-nges ics Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Numose-, Sue. SL, Sit ar Lt € ada}

Name of accountant or JOOKKSE PSs
Dates business existed

Diversifiec Properties 2LLC EIN: XX-XXXXXXX
6000 -. Pola. Rola

Greerills 27 20048 From-To

Premier weaicai, ic. EIN: XX-XXXXXXX
6000 Peles 2 _

Greenville 5 =rom-To

Vessei ac cul, we. SIN: §7-0983938
6000 Paneer Road _

Greenvil. -. ¥e.S =rom-To

Synapse -~S.a.y ue, waios, LLC EIN: XX-XXXXXXX
6000 Fely.ain Koaa .

Greer. Gee, uf he “vom-To

Gngen, sc. SIN: XX-XXXXXXX
6000 Pewies!, Xone _

Greeniinn Cb bes “rom-To

Bynasiy Ulagnosucs, LLC EIN: XX-XXXXXXX
6000 Pe-nam Rosa

Gretui s, SO 29615 “rom-To

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
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Debtor1 Kevin Scott Murdock

Document

Business Name
Address

{Number, Street, City, State and ZIP Code}

Meta Acquisition Co, LLC
6000 Pelham Road
Greenville. SG 29615

Describe the nature of the business

Name of accountant or bookkeeper

Page 30 of F2ase number (if known)

25-00037

Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed
EIN: XX-XXXXXXX

From-To

Firstox Laooratories, LLC
6000 Pelham Road
Greenyilis, 30 29615

EIN: XX-XXXXXXX

=rom-To

Ompare
118 Jarnes Street
Greenville, ©0 2:62

Software Consulting - Non
revenue producing currently.

=rom-To 2023 - present

28. Within 2 yeas petove you filed for bankruptcy,
institutions, credito-s, or other parties.

Boxe

Cl Yes. 22. ir cee details halow.
Name

Address

(Nuraber, So st Se are Zib Code}

Official Form 107

Date Issued

Statement of Financial Affairs for individuals Filing for Bankruptcy

did you give a financial statement to anyone about your business? Include all financial

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Debtor! Kevin Scott Murdock Document Page 31 of 32,, number

ifknown) 25-00037

EETEEE Sign Below

| have read the enswers on this Statement of Financial Affairs and an
are true and correct. | understand that makin
with a bankruptcy case can result in fines u
18 U.S.C. §§ 152, 1341, 1519, and 3571.

y attachments, anc | deciare under penalty of perjury that the answers
g a false statement, concealing property, or obtaining money or property by fraud in connection
p to $250,000, or imprisonment for up to 20 years, or both.

Isi Kevin Scot: Mu-dock
Kevin Scott Murdock
Signature of Deoror :

Signature of Debtor 2

So Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
MNo

QO Yes

Did you pay s. =. rae to pay Someone who is not an attorney to heip you fill out bankruptcy forms?
MNo

O1 Yes. Name o. Person . Attach tne Bankruptcy Petition Preparer's Notice, Deciaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
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TIMMS (eli Mts) ColeTa Mista ele l mer: cyst

Debtor 1 Kevin Scott Murdock

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Senkrucus: Court fer the: DISTRICT OF SOUTH CARCLINA,

Case number 25-00037

(if known) Mi Check if this is an
amended filing

Official Form 196Dec
Declaration About an Individual Debtor's Schedules 42/45

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money er rronerty by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. “2 U.£.5. 3§ 152, 7244, 1519, and 3571.

Did you pay or acres to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

wm No

Ci Yes. Karns si person Attach Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119)

Under penalty of perjury, ! declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

X isi Kevin Scott Murdock x

Kevin Scott Wiurdock Signature of Debtor 2
Signature of Debiar 4

Date 2/15/2025 Date

Official Form 106Dec Declaration About an Individual Debtor's Schedules
